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                                                                                     EASTERN DISTRICT ARKANSAS

                                                                                           OCT O9 2018
                             UNITED ST ATES DJ .,.TRI CT COURT                  JAMES W. M4JWACK 1 CLERK
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Sharon Brewer,

                       Plaintiff,                    Civil Action No.:     Lf.l tcv 1\.\S--tSM
       V.
                                                     COMPLAINT AND DEMAND FOR
Bluestem Brands, Inc. d/b/a Fingerhut,             : JURYTRIAL

                       Defendant.
                                                                                               ~ H, \\ef
                                                      This case. ass,g.·.ned to District Juda;;.
                                                     andtoNag..,..Judge.                           M(D€'=4
                                           COMPLAINT

       For this Complaint, Plaintiff, Sharon Brewer, by undersigned counsel, states as follows:

                                          JURISDICTION

        1.      This action arises out of Defendant'~ repeated violations of the Telephone

Consumer Protection Act, 47 U.S.C. § 227, et seq. (the "TCPA").

        2.      Venue is proper in this District pursuant to 28 U.S.C. § 1391(b), in that Defendant

transacts business in this District and a substantial portion of the acts giving rise to this action

occurred in this District.

                                              PARTIES

        3.      Plaintiff, Sharon Brewer ("Plaintiff''), is an adult individual residing in

Jacksonville, Arkansas, and is a "person" as defined by 47 U.S.C. § 153(39).

        4.       Defendant Bluestem Brands, Inc. d/b/a Fingerhut ("Bluestem"), is a Delaware

business entity with an address of 7075 Flying Cloud Drive, Eden Prairie, Minnesota 55344, and

is a "person" as defined by 47 U.S.C. § 153(39).
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                                               FACTS

         5.       In 2018, Bluestem began calling Plaintiffs cellular telephone, number 501-xxx-

4 776, using an automatic telephone dialing system ("ATDS" or "predictive dialer") and/or

busing an artificial or prerecorded voice.

         6.       Bluestem left prerecorded messages for Plaintiff.

         7.       In March 2018, Plaintiff demanded that all calls to her cease immediately.

         8.       Nevertheless, Bluestem continued to place automated calls to Plaintiffs cellular

telephone number.

                                     COUNTI
                    VIOLATIONS OF THE TCPA - 47 U.S.C. § 227, ET SEO.

         9.       Plaintiff incorporates by reference all of the above paragraphs of this Complaint

as though fully stated herein.

         10.      At all times mentioned herein, Defendant called Plaintiffs cellular telephone

number using an ATDS or predictive dialer and/or using a prerecorded or artificial voice.

         11.      Defendant continued to place automated calls to Plaintiffs cellular telephone

number despite knowing that it lacked consent to do so. As such, each call placed to Plaintiff

was made in knowing and/or willful violation of the TCPA, and subject to treble damages

pursuant to 47 U.S.C. § 227(b)(3)(C).

         12.      The telephone number called by Defendant was and is assigned to a cellular

telephone service for which Plaintiff incurs charges pursuant to 47 U.S.C. § 227(b)(l).

         13.      Plaintiff was annoyed, harassed and inconvenienced by Defendant's continued

calls.

         14.      The calls from Defendant to Plaintiff were not placed for "emergency purposes"

as defined by 47 U.S.C. § 227(b)(l)(A)(i).
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       15.      Plaintiff is entitled to an award of $500.00 in statutory damages for each call

placed in violation of the TCPA pursuant to 47 U.S.C. § 227(b)(3)(B).

       16.      As a result of each call made in knowing and/or willful violation of the TCPA,

Plaintiff is entitled to an award of treble damages in an amount up to $1,500.00 pursuant to 4 7

U.S.C. § 227(b)(3)(B) and 47 U.S.C. § 227(b)(3)(C).

                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiff prays that judgment be entered against Defendant:

                A. Statutory damages of $500.00 for each violation determined to be negligent

                    pursuant to 47 U.S.C. § 227(b)(3)(B);

                B. Treble damages for each violation determined to be willful and/or knowing

                    pursuant to 4 7 U.S.C. § 227(b)(3)(C); and

                C. Such other and further relief as may be just and proper.

                TRIAL BY JURY DEMANDED ON ALL COUNTS

Dated: October 2, 2018




                                               Sergei ,Lemberg, Esq.
                                               LEMJJERG LAW, L.L.C.
                                               43 Danbury Road, 3rd Floor
                                               Wilton, CT 06897
                                               Telephone: (203) 653-2250
                                               Facsimile: (203) 653-3424
                                               Attorneys for Plaintiff
